Case 8:25-cv-00951-PX   Document 203-4   Filed 06/26/25   Page 1 of 2




                  EXHIBIT D
6/10/25, 2:19 PM      Stephen Miller on X: "What a fool. There is no more “process” for deporting a crim alien with a final removal order, no matter how m…
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                                                 What a fool. There is no more “process” for deporting a crim alien with a
                                                 final removal order, no matter how much he is admired by Dems. He’s
                                                                                                                                                             Sign u
                                                 here because new evidence has resulted in a massive criminal
                                                 indictment. He will be tried, jailed and then deported again to El
                                                                                                                                                         Creat
                                                 Salvador.
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                                                           Senator Chris Van Hollen     @ChrisVanHollen · Jun 6                        Privacy Policy, includin
                                                   After months of ignoring our Constitution, it seems the Trump Admin has
                                                   relented to our demands for compliance with court orders and due process for
                                                   Kilmar Abrego Garcia.
                                                                                                                                             Something wen
                                                   This has never been about the man—it’s about his constitutional rights & the …




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